OAO 245B Case   4:11-cr-40037-SOH
          (Rev. 06/05) Judgment in a Criminal CaseDocument 1054             Filed 01/25/13 Page 1 of 6 PageID #: 2758
          Sheet 1



                                        UNITED STATES DISTRICT COURT
                       WESTERN                                    District of                                ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.
                                                                          Case Number:                      4:11CR40037-034
             EMMANUEL BAKER
                      aka “Little E”                                      USM Number:                      10716-010

                                                                          Geoffrey P. Culbertson
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        51 of an Indictment on September 18, 2012.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18 U.S.C. § 924(c)(1)(A)          Possession Of A Firearm in Furtherance Of A Drug Trafficking              01/28/2011                  51
                                  Offense (Class A Felony)




       The defendant is sentenced as provided in pages 2 through           6       of this judgment. The sentence is imposed by referring to
the U.S. Sentencing Guidelines as only advisory with the statutory range for offense(s).
G The defendant has been found not guilty on count(s)
X Count(s)      1, 43, 46, 50, 55, 60, 61, 121& 128     G is      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          January 23, 2013
                                                                          Date of Imposition of Judgment


                                                                          / S / Susan O. Hickey
                                                                          Signature of Judge




                                                                          Honorable Susan O. Hickey, United States District Judge
                                                                          Name and Title of Judge


                                                                          January 25, 2013
                                                                          Date
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              Sheet 2 — Imprisonment

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    DEFENDANT:                  EMMANUEL BAKER
    CASE NUMBER:                4:11CR40037-034


                                                             IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:     sixty (60) months, with credit for time served in federal Custody.




     X    The court makes the following recommendations to the Bureau of Prisons:
          Recommend placement in FCI Texarkana or FCI Pollock, LA. Recommend that the defendant be a candidate for the
          Intensive Drug Treatment Program, and that he be afforded the opportunity to participate in any educational and / or
          vocational programs during his term of incarceration.


     X    The defendant is remanded to the custody of the United States Marshal.

     G    The defendant shall surrender to the United States Marshal for this district:

          G     at                                G a.m.        G p.m.           on                                           .

          G     as notified by the United States Marshal.

     G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
    I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release
                                                                                                          Judgment—Page       3     of         6
DEFENDANT:                    EMMANUEL BAKER
CASE NUMBER:                  4:11CR40037-034
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :           three (3) years




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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           Sheet 3C — Supervised Release
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DEFENDANT:                 EMMANUEL BAKER
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                                         SPECIAL CONDITIONS OF SUPERVISION

    1) The defendant shall submit his person, residence, and vehicle to a search conducted by the United States
       Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of
       evidence of violation of any condition of supervised release. The defendant shall warn any other residents
       that their premises may be subject to search pursuant to this condition. Failure to submit to a search may be
       grounds for revocation.

    2) The defendant shall comply with any referral by the U.S. Probation Office, for in-patient or out-patient
       treatment and / or counseling for substance abuse.

    3) If not completed while incarcerated, the defendant must enroll in Adult Education Classes and complete
       his General Equivalency Diploma prior to the expiration of his term of supervised release.
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          Sheet 5 — Criminal Monetary Penalties
                                                                                                  Judgment — Page      5      of        6
DEFENDANT:                        EMMANUEL BAKER
CASE NUMBER:                      4:11CR40037-034
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                      Fine                                Restitution
TOTALS            $ 100.00                                         $ -0-                             $        -0-

G The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss*                       Restitution Ordered                  Priority or Percentage




TOTALS                              $                         0            $                         0


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the          G fine    G restitution.
     G the interest requirement for the           G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page      6     of         6
DEFENDANT:                  EMMANUEL BAKER
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $                100.00          due immediately, balance due

          G      not later than                                  , or
          X      in accordance          G C,         G D,   G      E, or     X F below; or
B    G Payment to begin immediately (may be combined with                  G C,      G D, or     G F below); or
C    G Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
          than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid
          financial penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than
          10% of the defendant’s net monthly household income, with the entire balance to be paid in full one month prior to the
          termination of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.



G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
